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                     UNITED STATES DISTRICT COURT

                            DISTRICT OF OREGON




  NICOLE MORETTI, and WENDY                Case No.: 3:21-cv-01525-SI
  NOVINS, as Personal
  Representative of the Estate of
  SAYLOR MORETTI, deceased                 DECLARATION OF SEAN M. FLAIM
                                           IN SUPPORT OF UNITED STATES’
                     Plaintiffs,           REPLY IN SUPPORT OF MOTION TO
  v.                                       DISMISS

  LETTY OWINGS CENTER,
  CENTRAL CITY CONCERN, and/or
  the UNITED STATES acting
  through the DEPARTMENT OF
  HEALTH AND HUMAN SERVICES,

                     Defendants.




Page 1      DECLARATION OF SEAN M. FLAIM IN SUPPORT OF UNITED
            STATES’ REPLY IN SUPPORT OF MOTION TO DISMISS
     I, Sean M. Flaim, hereby declare:

  1. I am an attorney in the Employment and Claims Branch, General Law

     Division, Office of General Counsel, U.S. Department of Health and Human

     Services (“HHS”). My primary area of work involves administrative tort

     claims filed under the Federal Tort Claims Act (“FTCA”) and related federal

     court litigation. Through this work, I am familiar with the official records of

     HHS as well as the methods by which these records are indexed and

     maintained.

  2. I am the primary HHS attorney assigned to this litigation. In the course of

     my work, I have reviewed each and every document that has been provided to

     HHS by the Plaintiffs and Central City Concern (“CCC”) since the filing of

     the administrative tort claim. I have also received official HHS records from

     the Health Resources & Services Administration (“HRSA”), including copies

     of the approved grant and deeming applications submitted previously by CCC

     to HRSA.

  3. CCC is HRSA Health Center Program Award Recipient. This means that

     CCC filed a grant application with the HRSA Bureau of Primary Health Care

     under the Health Center Program as authorized by Section 330 of the Public

     Health Service Act, 42 U.S.C. § 254b, and HRSA, in turn, approved the grant.

     Specifically, CCC applied for and received funding from the Health Care for

     the Homeless Program, which is authorized under Section 330(h) of the

     Public Health Service Act, 42 U.S.C. § 254b(h). Attached to this declaration



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     as Exhibit A is a true and correct copy of the grant application filed by CCC

     for funding in Calendar Year 2019.

  4. CCC is also a Federally Qualified Health Center (“FQHC”) as certified by the

     Centers for Medicare & Medicaid under the authority set forth in Section

     1905(l)(2)(B) of the Social Security Act, 42 U.S.C. § 1396d(l)(2)(B). An FQHC

     qualifies for specific reimbursements under Medicare and Medicaid for

     medical services provided by the entity.

  5. Under the Federally Supported Health Centers Assistance Act of 1992, as

     amended in 1995 (“FSHCAA”), 42 U.S.C. § 233(g)–(n), a Health Center

     Program Award Recipient may apply for and be deemed an employee of the

     Public Health Service. 42 U.S.C. § 233(g)(1)(A), by the Secretary of Health

     and Human Services. This deeming authority was delegated from the

     Secretary to the Associate Administrator of the Bureau of Primary Health

     Care, HRSA. Such deeming affords FTCA medical malpractice coverage to

     the health center and its employees. 42 U.S.C. § 233(a) (“The remedy against

     the United States provided by sections 1346(b) and 2672 of title 28 … for

     damage for personal injury, including death, resulting from the performance

     of medical, surgical, dental, or related functions … by any [] employee of the

     Public Health Service while acting within the scope of his [] employment,

     shall be exclusive of any other civil action or proceeding by reason of the same

     subject-matter against the [] employee [] whose act or omission gave rise to

     the claim.”); § 233(g) (incorporating the limitations of paragraph (a) to



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     entities deemed employees of the Public Health Service).

  6. CCC made an application for deeming to HRSA in 2018 for coverage in

     Calendar Year 2019. Attached to this declaration as Exhibit B is a true and

     correct copy of the application made by CCC for redeeming for Calendar Year

     2019.

  7. In turn, HRSA issued a Notice of Deeming Action granting deemed status to

     CCC for Calendar Year 2019. Attached to this declaration as Exhibit C is a

     true and correct copy of the HRSA Notice of Deeming Action. The Notice

     states that the coverage was limited to claims involving injury or death

     resulting from the performance of medical, surgical, dental, or related

     functions, and describes the coverage as medical malpractice coverage.

  8. As noted in the Notice of Deeming Action, deeming of an entity is subject to

     the terms and conditions incorporated either directly or by reference in the

     authorizing program legislation, the program regulations set forth in 42

     C.F.R. Part 6, and the FTCA Health Center Policy Manual (“HC Policy

     Manual”). Attached to this declaration as Exhibit D is a true and correct copy

     of the HC Policy Manual.

  9. Once an entity is deemed, a claimant must follow the procedures set forth in

     the FTCA, including the requirement to submit an administrative claim to

     the appropriate Federal agency and have that claim finally denied or the

     expiration of a six-month waiting period at which point the claim is deemed

     finally denied. 28 U.S.C. § 2675.



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  10. In the case of a FSHCAA-deemed entity, the claim is submitted to HHS.

     Specifically claims are received and reviewed by the Employment and Claims

     Branch where I work. Attached to this declaration as Exhibit E is a true and

     correct copy of the claim submitted by Wendy Novins, PR for the Estate of

     Saylor Moretti. I have searched HHS official records and this is the only

     claim that was submitted related to this matter.

  11. According to the claim, Nicole Moretti was the mother of Saylor Moretti.

     Nicole Moretti was a patient of CCC at the Letty Owings Center (“LOC”).

     Saylor Moretti was one-month old when he passed due to co-sleeping or being

     crushed by the weight of Nicole Moretti. The claim alleges that CCC and LOC

     were negligent in failing to train its staff, failing to supervise its staff, failing

     to explicitly have a policy on co-sleeping, failing to provide a crib in the room

     for Saylor, and failing to monitor patients to prevent an unreasonable risk of

     co-sleeping.

  12. Upon receipt of the claim, HHS requests additional information from the

     claimant as well as information from the deemed entity. The remainder of

     this declaration concerns documents received by HHS from CCC in response

     to the administrative tort claim filed by Wendy Novins, unless noted

     otherwise.

  13. CCC provided a document entitled “Welcome to Letty Owings Center.”

     Attached to this declaration as Exhibit F is a true and correct copy of this

     document. As the document notes, a patient at the LOC is assigned a clinical



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     team and counselor. Exh. E at 2. Patients at LOC receive a mixture of group

     and individual therapy, including coping with trauma, conflict resolution,

     relapse prevention and self-help meetings, as well as more general education

     in life skills including resolving adverse rental history and financial literacy.

     Id. at 2–3. While patients at the LOC are participating in these activities,

     their children are watched either by the on-site nursery (for children 12

     months and under) or by off-site childcare (for children over one year). Id.

  14. Official HHS records also contain a brochure titled “Letty Owings Center.”

     Attached to this declaration as Exhibit G is a true and correct copy of this

     brochure. In the brochure, LOC is described as a residential treatment and

     continuing care service for chemically dependent women, especially those

     pregnant and/or parenting women with young children. With respect to

     women in residence, services of LOC include medical referrals for women and

     children, mental health assessments, group counseling, education, individual

     and family counseling, referral for dental care, and weekly sewing classes.

     For children, a registered nurse is on site, part-time, and the center provides

     childcare planning, childcare while mothers participate in groups and classes,

     parenting assistance, and referral to mental health agencies when

     appropriate.

  15. CCC provided documents that Nicole Moretti filled out when came to the

     LOC including documents entitled “Commitment to Support Pro-Social

     Community” and “Child Care Contract.” Attached to this declaration as



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     Exhibit H are true and correct copies of those documents.

  16. CCC’s Senior Director of Substance Use Disorder Services, Amanda Risser,

     M.D., provided a narrative describing the incident at issue in this litigation.

     Attached to this declaration as Exhibit I is a true and correct copy of this

     statement. In the statement, Dr. Risser states that Nicole Moretti entered

     residential treatment at LOC on August 8, 2019, while pregnant with her

     child. She gave birth on September 7, 2019, to Saylor Moretti. Nicole

     Moretti’s plan of care included alcohol and drug treatment implemented by

     clinical and milieu staff at LOC, including TAs [treatment assistants], case

     managers, parent trainers, Certified Alcohol and Drug Counselors, nursing

     staff, and Dr. Risser as the LOC medical director. With respect to medical

     care given to infants, nurses provide triage, but otherwise LOC coordinates

     medical care with outside pediatric providers. With regard to children, the

     parent of the child is responsible for the safety of the children when they are

     outside of the on-site licensed childcare facility. At night, LOC treatment

     assistant staff perform bed checks for unsafe sleep.

  17. CCC provided HHS with a position description for a Female Treatment

     Assistant I (“FTA”). Attached to this declaration as Exhibit J is a copy of the

     position description. As noted in the description, the only training

     requirements for an FTA are CPR and the twelve-step recovery process. No

     education requirements are noted.

  18. While in residence at LOC, Saylor Moretti was seen twice by a LOC nurse on



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     September 17 and 30, 2019. Attached to this declaration as Exhibit K is a

     true and correct copy of the nurse’s notes. The September 17, 2019, visit was

     an initial assessment after Nicole Moretti returned to LOC. As noted, the

     only medical concern regarding the infant was a diaper rash. The September

     30, 2019, visit was for congestion. The nurse taught Nicole Moretti how to

     suction the infant’s nose.

  19. CCC provided HHS with two schedules for overnight shifts, termed by CCC

     as the graveyard shift. Attached to this declaration as Exhibit L are copies of

     these two schedules. During the overnight shift, treatment associates are

     responsible for bed checks, laundry, preparing paperwork for the next day,

     and for distributing medications.

  20. CCC provided HHS with an incident report regarding the events of this

     litigation. Attached to this declaration as Exhibit M is a true and correct copy

     of this incident report. According to the report, at approximately 9:15 a.m.,

     during room checks, staff member Allie Smith knocked on Nicole Moretti’s

     door. When Nicole answered the door, she appeared to have just woken up.

     Upon entering the room, Allie was unable to see the infant. After searching,

     the child was found on Nicole Moretti’s bed under a blanket, purple and non-

     responsive. Allie initiated CPR and Todd Jeter, another employee, called 911.

  21. Attached to this declaration as Exhibit N is a true and correct copy of CCC’s

     “Healthcare Facility Professional and General Liability Insurance Policy.”

     CCC provided proof of this gap or wrap-around coverage to HHS, which



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      includes coverage for activities not covered by FSHCAA.

   22. Attached to this declaration as Exhibit O is a true and correct copy of U.S.

      Centers for Medicare and Medicaid Services (“CMS”) Joint CMS and

      Administration for Children & Families (“ACF”) Informational bulletin dated

      October 5, 2020, which is an official publication of HHS. This particular

      statement discusses Family-Focused Residential Treatment facilities like the

      LOC and discusses the services within such programs that are Medicaid

      reimbursable as medical care.

   23. Finally, attached to this declaration as Exhibit P is a true and correct copy of

      the Bureau of Primary Health Care Policy Information Notice (“PIN”) 93-19

      dated July 2, 1993.

   I hereby declare that the above statement is true to the best of my

knowledge and belief, and that I understand it is made for use as evidence

in court and is subject to penalty of perjury.


Executed this 9th day of September, 2022.



                                              /s/Sean M. Flaim_______
                                              SEAN M. FLAIM
                                              General Attorney




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